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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:


                                                                     2:24−cr−00091−ODW
  USA
                                                   Plaintiff(s),

           v.
  ALEXANDER SMIRNOV                                                  NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).
                                                                    ELECTRONICALLY FILED PRO HAC VICE
                                                                                APPLICATION




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

   2/22/2024       26            Application of Non−Resident Attorney to Appear in a Specific Case Pro Hac Vice
  Date Filed      Doc. No.      Title of Doc.

  ERROR(S) WITH DOCUMENT:

  Local Rule 83−2.1.3.3(d) Certificate of Good Standing not attached for every state court listed to which the
  applicant has been admitted.




  Other:

  Note: In response to this notice, the Court may: 1) deny the Application; 2) order an amended or corrected document to
  be filed; 3) order the document stricken; or 4) take other action as the Court deems appropriate. You need not take any
  action in response to this notice unless and until the Court directs you to do so.


                                                    Clerk, U.S. District Court

  Dated: February 23, 2024                          By: /s/ Shea Bourgeois shea_bourgeois@cacd.uscourts.gov
                                                       Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




  G−112C(10/23)            Notice to Filer of Deficiencies in Electronically Filed Pro Hac Vice Application
